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AUG 26 2021
IN THE UNITED STATES DISTRICT COURT LEAK g DIsTRICT COURT
FOR THE DISTRICT OF MARYLAND BY CTO OP MARYLAND ory

 

UNITED STATES OF AMERICA . BAO
CRIMINAL NO. RDB-21

(Conspiracy To Distribute

 

v. : Narcotics, 21 U.S.C.§ 846)
REGINALD LEON BOLDEN, |
Defendant
| 1s 000 cee
CRIMINAL INFORMATION
COUNT ONE

The Acting United States Attorney for the District of Maryland charges that: °
From in or about February 2020, through in or about April 2020, in the District of Maryland

and elsewhere,
REGINALD LEON BOLDEN,

the defendant herein, did knowingly, willfully, and unlawfully combine, conspire, confederate,
and agree with others known and unknown to knowingly and intentionally distribute and possess
with intent to distribute 28 grams or more of cocaine base, a Schedule II controlled substance, in

violation of 21 U.S.C. § 841(a)(1).

 

21 U.S.C. § 846
8/26/21
Date Jonathan F. Lenzner CG

Acting United States Attorney
